             Case 2:13-cr-00114-TOR                        ECF No. 288                filed 12/29/14               PageID.724 Page 1 of 1
O PS 8
(5/04)


                                         UNITED STATES DISTRICT COURT
                                                                                    for
                                                           Eastern District of Washington


 U.S.A. vs.                       Rodabough, Vincent Montel                                         Docket No.                 0980 2:13CR00114-004


                                             Petition for Action on Conditions of Pretrial Release

        COMES NOW David L. McCary, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Vincent Montel Rodabough, who was placed under pretrial release supervision by the Honorable
U.S. Magistrate Judge John T. Rodgers sitting in the court at Spokane, Washington, on the 28th day of August, 2014,
under the following conditions:

Condition #4: Defendant shall participate in a program in a program of GPS confinement. The defendant shall wear, at all times, a GPS device under the supervision
of U.S. Probation. In the event the defendant does not respond to GPS monitoring or cannot be found, the U.S. Probation Office shall forthwith notify the United
States Marshals’ Service, who shall immediately find, arrest and detain the defendant. The defendant shall pay all or part of the cost of the program based upon ability
to pay as determined by the U.S. Probation Office.


          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                  (If short insert here; if lengthy write on separate sheet and attach.)

Violation #1: Vincent Rodabough is considered to be in violation of his period of pretrial supervision by failing to comply with the GPS program by removing the
GPS tracking system from his person on December 23, 2014.


                                       PRAYING THAT THE COURT WILL ORDER A WARRANT



                                                                                                       I declare under the penalty of perjury
                                                                                                       that the foregoing is true and correct.
                                                                                                       Executed on:           December 24, 2014
                                                                                           by          s/David L. McCary
                                                                                                       David L. McCary
                                                                                                       U.S. Pretrial Services Officer


 THE COURT ORDERS

 [ ]        No Action
 [ X]       The Issuance of a Warrant
 [ ]        The Issuance of a Summons
 [ ]        Other


                                                                                                          Signature of Judicial Officer
                                                                                                           December 24, 2014
                                                                                                          Date
